852 F.2d 565Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Lloyd BLUNT, Plaintiff-Appellant,v.Andrew J. WINSTON, Sheriff;  G.J. Troublefield, Major,Defendants-Appellees.
    No. 88-7588.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 24, 1988.Decided:  July 14, 1988.
    
      Lloyd Blunt, appellant pro se.
      Dennis Patrick Lacy, Jr., Kathleen Shepherd Mehfoud (Lacy &amp; Mehfoud, PC), for appellees.
      Before WIDENER and JAMES DICKSON PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Lloyd Blunt appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Blunt v. Winston, C/A No. 87-731-N (E.D.Va. March 10, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    